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In the Gnited States District Court

ID: 25

for the Southern District of Georgia,
Brunswick Bibision. “our

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ROBBIE DOTSON,
Plaintiff,

2:19-CV-21
Vv.

DISH NETWORK L.L.C.,

Defendant.

 

ORDER

Before the Court is Defendant Dish Network L.L.C.’s (“Dish”)
Motion for Summary Judgment. Dkt. No. 49. This Motion has been
fully briefed and is ripe for review. For the following reasons,
Dish’s Motion is GRANTED.

BACKGROUND

Defendant Dish. is an entity that provides broadcast satellite
television products and services to residential and commercial
customers. Dkt. No. 49-1 7 2. Plaintiff Robbie Dotson is a former
Dish customer who alleges that beginning sometime in 2014, Dish
used an automatic telephone dialing device or equipment to make a
series of unauthorized telephone calls to his cellular telephone
in violation of the Telephone Consumer Protection Act of 1991, 47

U.S.C. § 227 (the “TCPA”). Dish denies that it made many of the

 
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calls alleged by Dotson and contends that the calls it did make
were authorized under the TCPA.

On or around July 2012, Dotson authorized Dish to install
equipment at his home in Brunswick, Georgia so that Dish could
provide him with broadcast television service. See Dkt. No. 49-2
at 6-9; see also Dkt. No. 49-6. Dish alleges that pursuant to the
installation, Dotson signed a “Digital Home Advantage Plan
Agreement” (the “Plan Agreement”) dated July 10, 2012 wherein he
agreed to a two-year term of services, paid monthly. Dkt. No. 49-6.
Contained in the agreement is Dotson’s name, signature, phone
number, email address, and home address. Id. at 2. Though Dotson
admits that he gave Dish his cell phone number, he denies that the
signature on the agreement is his. Dkt. No. 49-2 at 6-9.

Dotson contends that he ultimately discontinued his services
with Dish because the services were not working and because Dish
refused to resolve the problem. Dkt. No. 49-2 at 12. On December
13, 2013, he signed a “Service Agreement” whereby he agreed to
have Dish remove equipment from his home. Id. at 10-11; see also
Dkt. No. 49-5. Dotson admits that he signed the Service Agreement,
which also contains his cell number and home address. Id.

Dotson alleges that in 2014 Dish began to make calls to the
cell phone number listed in the Plan Agreement and Service
Agreement. Dkt. No. 49-at 11. Dotson recalls exceedingly little

about these calls, such as the date the calls were made or the

 
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number from which they were dialed. Id. at 11-12. However, he does
recall being told that he owed the remaining balance on the Plan
Agreement, to which he responded that Dish “broke the contract
because [they] wouldn’t fix what [they] put in.” Id. at 13. After
Dish continued to insist that he pay the outstanding balance,
Dotson would hang up the phone. Id. Dotson alleges that he told
Dish employees to stop calling him “[s]Joon after” he had started
receiving calls, but that the calls persisted. Dkt. No. 51-2 at l.
Eventually, Dotson’s attorney, acting on Dotson’s behalf, sent a
letter to Dish dated January 26, 2015 demanding, inter alia, that
Dish stop making calls to Dotson. See Dkt. No. 49-9. Nevertheless, |
Dotson alleges that the calls continued into 2016 and perhaps as
late as early 2017. Id. at 14.

Dish contends that from 2012 to 2015, it made exactly eighteen
calls to Dotson’s cell number, including three in 2012, nine in
2014, and one in 2015. Dkt. No. 49-1 7 10. In support, Dish appended
to its motion an “outbound telephone call log” depicting the date,
time, and nature of each of these calls. Dkt. No. 49-8. According
to an affidavit by Joey Montano, Dish’s Business Operations
Manager, this call log shows “all outbound telephone activity. .
related to Mr. Dotson’s account.” Dkt. No. 49-3. Consistent with
the call log, Dish contends that it did not make any calls to
Dotson after January 23, 2015. Dkt. No. 49-1 9 13; see also Dkt.

No. 49-8. Dish further contends that it did not receive anything

 
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from Dotson revoking his consent to receive calls from Dish prior
to his attorney’s January 2015 letter. See Dkt. No. 49-1 971 19-20.
After it received counsel’s letter in early 2015, Dish alleges
that it noted Dotson’s request in its system and “wrote off”
Dotson’s outstanding account balance. See id. (71 14, 20.

Dish appended to its motion its “account notes” which,
according to Montano, “show generally all activity and
communications related to Mr. Dotson’s account.” Dkt. No. 49-3 at
4. These notes reflect that on July 10, 2012, Dotson established
service with Dish. See Dkt. No. 49-4 at 7-8. Several months later,
Dotson advised Dish that he was dissatisfied with his service and
requested that Dish disconnect its equipment, which Dish did in
either late 2013 or early 2014. Id. at 5. In March 2014, Dish
charged Dotson a prorated cancellation fee pursuant to the Plan
Agreement. Id. at 4.1! Over the next several months, the account
notes reflect that the parties disputed the validity of the
cancellation fee. See id. at 3-4. In February 2015, the notes show
that Dish received the letter from Dotson’s attorney requesting
Dotson “cease [and] desist contacting his client.” Id. at 3. The
cancellation fee was listed as being waived on that day and no

subsequent contact with Dotson was noted. Id. at 2-3.

 

1 The Plan Agreement provides, in pertinent part, that if service is disconnected
for any reason prior to the end of the contract term, Dish will automatically
charge a cancellation fee to the customer’s account or credit card, which the
customer agrees to pay. Dkt. No. 49-6 at 2.

 
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On December 31, 2018, Dotson filed the present action in the
Magistrate Court of Glynn County, Georgia asserting generally that
Dish “violated the Plaintiff’s rights under the [TCPA] on multiple
occasions.” Dkt. No. 1-1 at 3. In February 2019, Dish removed the
action to this Court pursuant to federal question jurisdiction
under 28 U.S.C. § 1331. In May 2019, Dotson filed an Amended
Complaint-with leave from the Court—asserting more specifically
that Dish violated the TCPA by making “repeated telephone calls to
the Plaintiff’s cellular telephone from automatic telephone
dialing devices or equipment.” Dkt. No. 25 9 3. He further alleges
that despite having “made demand upon the Defendant to cease,”
Dish “continued to make said calls in violation of the [TCPA].”
Id. @ 4.

In August 2019, following the close of discovery, Dish filed
its Motion for Summary Judgment contending that the record evidence
cannot support Dotson’s claim that Dish violated the TCPA and that
Dish is entitled to judgment as a matter of law. Dkt. No. 49. For
the reasons discussed below, the Court must GRANT Dish’s motion.

LEGAL STANDARD

Summary judgment “shall” be granted if “the movant shows that
there is no genuine dispute as to any material fact and that the
movant is entitled to judgment as a matter of law.” Fed. R. Civ.
P. 56(a). A dispute is “genuine” where the evidence would allow “a

reasonable jury to return a verdict for the nonmoving party.”

 
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FindWhat Investor Group.com, 658 F.3d 1282, 1307 (11th Cir. 2011)
(quoting Anderson v. Liberty Lobby, Inc. 477 U.S. 242, 248 (1986)).
A fact is “material” only if it “might affect the outcome of the
suit under the governing law.” Id. Factual disputes that are
“irrelevant or unnecessary” are not sufficient to survive summary
judgment. Anderson, 477 U.S. at 248.

The moving party bears the initial burden of demonstrating
the absence of a genuine issue of material fact. See Celotex Corp
v. Catrett, 477 U.S. 317, 323 (1986). The movant must show the
court that there is an absence of evidence to support the nonmoving
party's case. See id. at 325. If the moving party discharges this
burden, the burden shifts to the nonmovant to go beyond the
pleadings and present affirmative evidence to show that a genuine
issue of fact does exist. See Anderson, 477 U.S. at 257.

The nonmovant may satisfy this burden in one of two ways.
First, the nonmovant "may show that the record in fact contains
supporting evidence, sufficient to withstand a directed verdict
motion, which was ‘overlooked or ignored' by the moving party, who
has thus failed to meet the initial burden of showing an absence

of evidence." Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1116

 

(llth Cir. 1993) (quoting Celotex Corp., 477 U.S. at 332) (Brennan,
J. dissenting)). Second, the nonmovant "may come forward with
additional evidence sufficient to withstand a directed verdict

motion at trial based on the alleged evidentiary deficiency." Id.

 
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at 1117. Where the nonmovant attempts to carry this burden instead
with nothing more "than a repetition of his  conclusional
allegations, summary judgment for the [movant is] not only proper
but required." Morris v. Ross, 663 F.2d 1032, 1033-34 (11th Cir.
1981) (citing Fed. R. Civ. P. 56(e)).
DISCUSSION
As a threshold matter, Dish argues that many of Dotson’s
claims for unauthorized calls are barred by the relevant statute
of limitations. The Court agrees. Under 28 U.S.C. § 1658, “[e] xcept
as otherwise provided by law, a civil action arising under an Act
of Congress . . . may not be commenced later than 4 years after
the cause of action accrues.” The Eleventh Circuit has held that

this limitation period applies to alleged violations of the TCPA

under 28 U.S.C. § 1658(a). See Coniglio v. Bank of Am., N.A., 638

 

Fed. Appx. 972, 974 n.1 (llth Cir. 2016). Here, Dotson filed his
state action on December 31, 2018. Dkt. No. 1-1. Accordingly, any
claims based on calls made prior to December 31, 2014 are barred.

Moreover, irrespective of this time bar, Dotson has not
presented any evidence that any of the alleged calls were made
using an “Automatic Telephone Dialing System” (“ATDS”) .2 Under

section (b)(1) of the TCPA, persons are only barred from making

 

2 Dish also argues that Dotson’s claims must fail because he has not raised a
genuine dispute about whether the calls were authorized. Because the Court finds
that Dotson has presented no evidence that an ATDS was used, the Court need not
reach this additional ground for granting summary judgment.

 
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unauthorized calls when those calls are made “using any [ATDS] or
an artificial prerecorded voice.” 47 U.S.C. § 227(b) (1) (A). An
ATDS is defined as “equipment which has the capacity . .. to store
or produce telephone numbers to. be called, using a random or
sequential number generator [and] . . . to dial such numbers.” Id.
§ 227(a) (1). It is the plaintiff’s burden to establish that a call

was made using an ATDS. See Estrella v. LTD Fin. Servs., LP, No.

 

8:14-cv-2624, 2015 U.S. Dist. LEXIS 148249, at *9-10 (M.D. Fla.
Nov. 2, 2015) (finding that the plaintiff did not satisfy its

burden of establishing Defendant used an ATDS or predictive dialing

system); see also Musenge v. SmartWay of the Carolinas, LLC, NO.

3:15-cv-153, 2018 U.S. Dist. LEXIS 158044, at *7 (W.D.N.C. Sept.
17, 2018) (placing the burden on the plaintiff to allege use of an

ATDS by the defendant); see also San Pedro-Salcedo v. Haagen-Dazs

 

Shoppe Co., No. 5:17-cv-03504, 2019 U.S. Dist. LEXIS 208228, at
*15 (N.D. Ca. Dec. 3, 2019) (“[W]hether Haagen-Dazs used an ATDS
is an essential element of [the plaintiff’s] claim and, as the
plaintiff, she carries the ultimate burden of affirmatively
proving that Haagen-Dazs used an ATDS.”).

Here, Dotson alleges generally in his Amended Complaint that
Dish made calls to his cellphone “from automatic telephone dialing
devices or equipment.” Dkt. No. 25 4 3. Summary judgment must be
granted however, because Dotson cannot rest on that mere

allegation. He has not produced any evidence that an ATDS was used.

 
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Not every call from a commercial entity is made via ATDS. Dotson
has offered no evidence whatsoever that would substantiate his
claim that Dish used ATDS for the calls made to his cellphone. It
is certainly possible in this case that Dish employees or
contractors could have simply dialed Dotson’s number based on
information they had in.a file.

In response, Dotson points to one of Dish’s answers to his
interrogatories requesting information about individuals who
contacted his number. The interrogatory in question states:

List and identify each person who contacted the

Plaintiff cell phone . . . on behalf of the Defendant at

any time within the last five years, and state the date

of each call made by each listed person.

Dkt. No. 51-3 at 9. In response Dish stated as follows:

DISH objects to this Interrogatory on the ground that it

suggests that DISH has knowledge of a “person who

contacted” Plaintiff “on behalf” of DISH. DISH also

objects to answer this Interrogatory on behalf of a

“person” over which DISH has no control or no first-hand

knowledge. DISH further objects to this Interrogatory on

the ground that the temporal scope is outside the statute

of limitations.

Dotson argues that because Dish’s interrogatory response did
not specifically identify the individuals who made calls to his

cellphone, that Dish effectively conceded that the calls were made

using “automated dialing equipment.” See Dkt. No. 51 at 3-4.%

 

 

3 Potson similarly argues that Dish did not disclose the individuals who
specifically made calls to Dotson as part of its initial disclosures under Rule
26(a) (1) of the Federal Rules of Civil Procedure.

 
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However, far from providing evidence that an ATDS was used, the
response is merely an objection suggesting that Dish may not have
control of a person whom Dotson seeks information about. Nothing
in the response-which is merely an objection-serves as evidence
that an ATDS was utilized. While the Court acknowledges that Dish’s
objections seem somewhat cryptic,’ Dotson had ample opportunity to
demand a more detailed explanation from Dish through either a
Motion to Compel or by conducting depositions of Dish

representatives who might shed more light on that issue “and lead

to actual evidence about the usage or non-usage of ATDS. See, e.g.,

Dkt. No. 45 (granting, in part, Dotson’s motion to extend the
Court’s deadline to conduct discovery and providing Dotson
additional time to conduct . depositions of certain Dish
representatives) . A viable option is not to do nothing other than
to urge the Court to imagine what might have happened if a motion
to compel was filed and if it succeeded and if it resulted in
provision of evidence to submit to a jury. Such triple speculation

by the Court is improper and does not create a jury issue. As it

 

4 Dish appended to its reply brief a supplemental response to Dotson’s

interrogatory in which it stated:

You have asked DISH to ‘identify each person who contacted the
Plaintiff [sic] cell phone.” DISH does not know if the requested
information exists and, if it does, DISH does not have the requested
information in DISH’s possession, custody, or control.

Dkt. No. 53-2 at 3. This answer is, perhaps, equally as ambiguous as Dish’s

original interrogatory response. However, the response still does not concede
that Dish relied on some form of automated device to contact Dotson.

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stands, the Court finds that Dotson has failed to present evidence
sufficient for a reasonable jury to conclude that Dish contacted
him using an ATDS.

CONCLUSION

For these reasons, Dish’s Motion for Summary Judgment, dkt.

“no. 49, is GRANTED. The Clerk of the Court is DIRECTED to close

this case.

SO ORDERED, this 19th day of March, 2020.

 

HON’ LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

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